                   Case 2:19-cv-01252-JAD-VCF Document 6 Filed 07/19/19 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

                                                                     )
 NEVADA POWER COMPANY d/b/a NV Energy and                            )
   SIERRA PACIFIC POWER COMPANY d/b/a                                )
                NV Energy                                            )
                            Plaintiff(s)                             )
                                                                     )                          2:19-cv-01252-JAD-VCF
                                v.                                           Civil Action No.
                                                                     )
  TRENCH FRANCE S.A.S. and TRENCH LIMITED;                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TRENCH FRANCE S.A.S.
                                           16 Rue du General Cassagnou
                                           68302 Saint-Louis Cedex
                                           France




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: NICHOLAS J. SANTORO, ESQ.
                                           JAMES E. WHITMIRE, ESQ.
                                           SANTORO WHITMIRE
                                           10100 W. Charleston Blvd., Suite 250
                                           Las Vegas, NV 89135


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         July 19, 2019OF COURT
                                                                               CLERK


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 2:19-cv-01252-JAD-VCF Document 6 Filed 07/19/19 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:19-cv-01252-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                   Case 2:19-cv-01252-JAD-VCF Document 6 Filed 07/19/19 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

                                                                     )
 NEVADA POWER COMPANY d/b/a NV Energy and                            )
   SIERRA PACIFIC POWER COMPANY d/b/a                                )
                NV Energy                                            )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:19-cv-01252-JAD-VCF
                                                                     )
  TRENCH FRANCE S.A.S. and TRENCH LIMITED;                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TRENCH LIMITED
                                           71 Maybrook Drive
                                           M1V 4B6 Scarborough, Ontario
                                           Canada




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: NICHOLAS J. SANTORO, ESQ.
                                           JAMES E. WHITMIRE, ESQ.
                                           SANTORO WHITMIRE
                                           10100 W. Charleston Blvd., Suite 250
                                           Las Vegas, NV 89135


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                             JulyCLERK
                                                                                  19, 2019
                                                                                       OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                    Case 2:19-cv-01252-JAD-VCF Document 6 Filed 07/19/19 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:19-cv-01252-JAD-VCF

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                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

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           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
